        Case 1:21-cv-00400-APM Document 10 Filed 03/23/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

HON. BENNIE G. THOMPSON, in his
personal capacity,                              Case No. 1:21-cv-400 APM
2466 Rayburn House Office Building
U.S. House of Representatives
Washington, DC 20515

             Plaintiff,

v.

DONALD J. TRUMP, solely in his personal
capacity
Mar-A-Lago
1100 S. Ocean Blvd.
Palm Beach, Florida 33480-5004,

RUDOLPH W. GIULIANI,
Rudolph W Giuliani, PLLC
445 Park Ave FL 18
New York, NY 10022-2606

PROUD BOYS INTERNATIONAL, L.L.C.,
c/o Jason L. Van Dyke
108 Durango Dr.
Crossroads, TX, 76227, and

OATH KEEPERS,
Attn: Stewart Rhodes
1030 E. Hwy 377
Ste 110-285
Granbury, TX 76048
4625 West Nevso Drive, Suite 2 & 3
Las Vegas, NV, 89103,

            Defendants.
____________________________________________________/

          CONSENT MOTION FOR EXTENSION OF TIME TO
        ANSWER OR OTHERWISE PLEAD TO THE COMPLAINT
        Case 1:21-cv-00400-APM Document 10 Filed 03/23/21 Page 2 of 2




      Pursuant to Federal Civil Rule 6(b)(1)(A), Defendant, OATH KEEPERS,

moves this Court for an extension of time to answer or otherwise plead in response

to the Complaint, on or before April 26, 2021.

      On February 16, 2021, Plaintiff Thompson’s Complaint was filed.

Defendants undersigned Counsel was contacted on March 22, 2021, on behalf of

Defendant OATH KEEPERS and desires additional time to consider the

Complaint. Plaintiff‘s Counsel has agreed to an extension of time for OATH

KEEPERS to respond to the Complaint, and consents to this motion for an

extension of time to answer or otherwise plead on or before April 26, 2021.

                                Respectfully Submitted,

                         By:          /s/ Kerry L. Morgan
                                      Kerry L. Morgan (P32645)
                                      Attorneys for Defendant
                                      2915 Biddle Avenue, Suite 200
                                      Wyandotte, MI 48192
                                      (734) 281-7100
                                      KMorgan@pck-law.com
Dated: March 23, 2021

                         CERTIFICATE OF SERVICE

        I certify that on the 23nd day of March, 2021, I electronically filed the
foregoing Consent Motion for Extension of Time and Proposed Order with the
Clerk of Court using the CM/ECF system which will send notification of such
filing to all counsel and parties of record.

Dated: March 23, 2021                       /s/Kerry L. Morgan
                                            Kerry L. Morgan
                                            Counsel for Oath Keepers
